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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Peter Barry, individually and on behalf of all
others similarly situated, CLASS ACTION

Plaintiff, JURY TRIAL DEMANDED
v.
Law Office of James A. Mayer,

Defendant.

 

CLASS ACTION COMPLAINT

Plaintiff, Peter Barry (“Plaintiff”), brings this class action against the defendant, Law
Office of James A. Mayer (“Defendant”), and alleges as follows upon personal knowledge as to
himself and his own acts and experiences, and, as to all other matters, upon information and belief,
including investigation conducted by his attorneys.

NATURE OF THE ACTION

1. This is a putative class action under the Telephone Consumer Protection Act, 47
USS.C. § 227 et seq., (““TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

2. Defendant is a law firm that provides collection services.

3. This case arises from Defendant’s transmission of automated and prerecorded debt
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collection calls to the cellular telephones of Plaintiff and others, without consumers’ prior express
consent.

4, By its actions as alleged with specificity herein, Defendant has violated the statute
and consumers’ privacy rights

5. Through this action, Plaintiff seeks injunctive relief to halt Defendant’s unlawful
conduct which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the
daily life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and
members of the class, and any other available legal or equitable remedies.

JURISDICTION AND VENUE

6. Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a
federal statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a
national class, which will result in at least one class member belonging to a different state than that of
Defendant. Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each
violation of the TCPA, which, when aggregated among a proposed class numbering in the tens of
thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court
Jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity
Jurisdiction and CAFA jurisdiction are present.

G. Venue is proper in the United States District Court for the District of New Jersey
pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district
in which it is subject to the court’s personal jurisdiction, and because Defendant provides its services
within this district thereby establishing sufficient contacts to subject it to personal jurisdiction. Further,
Defendant’s tortious conduct against Plaintiff occurred within the State of New Jersey.

PARTIES
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8. Plaintiff is a natural person who, at all times relevant to this action, was a resident
of Morris County, New Jersey.
9. Defendant is an entity operating as a law office with its principal place of business

located at 223 Old Hook Road Westwood, NJ 07675.

THE TCPA

10. The TCPA prohibits: (1) any person from calling a cellular telephone number; (2)
using an automatic telephone dialing system or an artificial or prerecorded voice; (3) without the
recipient’s prior express consent. 47 U.S.C. § 227(b)(1)(A).

11, The TCPA exists to prevent communications like the ones described within this
Complaint. “Voluminous consumer complaints about abuses of telephone technology—for example,
computerized calls dispatched to private homes—prompted Congress to pass the TCPA.” Mims v.
Arrow Fin, Servs., LLC, 132 8. Ct. 740, 744 (2012).

12. In an action under the TCPA, a plaintiff must only show that the defendant “called
a number assigned to a cellular telephone service using an automatic dialing system or prerecorded
voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755
F.3d 1265 (11th Cir. 2014).

13. Further, it is the defendant’s burden to demonstrate that it obtained the plaintiff's
prior express consent. See Jn the Matter of Rules and Regulaions Implementing the Tel. Consumer Prot.
Act of 1991, 30 FCC Red. 7961, 7991-92 (2015) (requiring express consent “for non-telemarketing and
non-advertising calls’).

14. The Federal Communications Commission (“FCC”) is empowered to issue rules

and regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the
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TCPA are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater
nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and
inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether
they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone
Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Red 14014
(2003).

15. As held by the United States Court of Appeals for the Ninth Circuit: “Unsolicited
telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the solitude
of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any additional harm
beyond the one Congress has identified.” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017
U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct.
1540, 1549 (2016) (emphasis original)).

FACTS

16. Defendant placed numerous automated and prerecorded calls to Plaintiff's cellular
telephone number ending in - 2395 (the “2395 Number”), including, but not limited to, on the following
dates and times:

e May 14, 2018 at 10:34 a.m.
e May 18, 2018 at 10:36 a.m.
e May 22, 2018 at 11:06 a.m.

17. The above referenced calls originated from telephone number 866-636-0534, a
number owned and operated by Defendant, and answered by Defendant’s employees and/or agents.

18. Plaintiff received the subject calls within this judicial district and, therefore,

Defendant’s violation of the TCPA occurred within this district. Upon information and belief,
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Defendant caused other automated and prerecorded calls to be sent to the cellular telephones of other
individuals residing within this judicial district.

19, In placing the above referenced calls to Plaintiff, Defendant utilized a combination
of hardware and software systems that have the current capacity or present ability to generate or store
random or sequential numbers or to dial sequentially or randomly at the time the call is made, and to
dial such numbers, en masse, in an automated fashion without human intervention.

20. At no point in time did Plaintiff provide Defendant with his express consent to be

contacted using an automatic telephone dialing system or an artificial or prerecorded voice.

21, Plaintiff does not owe a debt to Defendant, or any company represented by
Defendant.

22. Plaintiff has never had any type of relationship with Defendant.

23. Further, the 2395 Number has been on the National Do Not Call Registry since

November 20, 2006.
24. Plaintiff is the subscriber and sole user of the 2395 Number.
25. Defendant’s calls caused Plaintiff actual harm, including invasion of his privacy,
aggravation, annoyance, intrusion on seclusion, trespass, and conversion.
26. Other members of the class, incensed by Defendant’s privacy violations, have taken
to the Internet to voice their frustrations. The following is just a small sampling of those complaints:
e Very annoying robocall from a parachute law office.
e¢ Automated lawyer robocall.

e Get this same call every day. Just an annoying pre-recorded
message.

e Automated message from lawyer office to call them back.
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e Automated call telling me to urgently contact the law office.!

CLASS ALLEGATIONS
PROPOSED CLASS
27. Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf

of himself and all others similarly situated.

28. Plaintiff brings this case on behalf of a Class defined as follows:

No Consent Class: All persons within the United States
who, within the four years prior to the filing of this
Complaint, were sent a call using automatic telephone
dialing system or an artificial or prerecorded voice, from
Defendant or anyone on Defendant’s behalf, to said
person’s cellular telephone number, without emergency
purpose and without the recipient’s prior express consent.

Do Not Call Registry Class: All persons within the United
States who, within the four years prior to the filing of this
Complaint, were sent more than one call using automatic
telephone dialing system or an artificial or prerecorded
voice, from Defendant or anyone on Defendant’s behalf, to
said person’s cellular telephone number, within any 12-
month period, where the cellular telephone number had
been listed on the National Do Not Call Registry for at least
thirty days, without emergency purpose and without the
recipient’s prior express consent.

29. Defendant and its employees or agents are excluded from the Class. Plaintiff does
not know the number of members in the Class, but believes the Class members number in the several
thousands, if not more.

NUMEROSITY

30. Upon information and belief, Defendant has placed automated and/or prerecorded

 

' See https://www.whitepages.com/phone/1-201-666-5803 (last accessed on July 13, 2018).
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calls to cellular telephone numbers belonging to thousands of consumers throughout the United States
without their prior express consent. The members of the Class, therefore, are believed to be so numerous
that joinder of all members is impracticable.

31. The exact number and identities of the Class members are unknown at this time
and can only be ascertained through discovery. Identification of the Class members is a matter capable
of ministerial determination from Defendant’s call records.

COMMON QUESTIONS OF LAW AND FACT

32. There are numerous questions of law and fact common to the Class which
predominate over any questions affecting only individual members of the Class. Among the questions
of law and fact common to the Class are:

(1) Whether Defendant made non-emergency calls to Plaintiff's and Class
members’ cellular telephones using an automatic telephone dialing system or
an artificial or prerecorded voice;

(2) Whether Defendant can meet its burden of showing that it obtained prior
express consent to make such calls;

(3) Whether Defendant’s conduct was knowing and willful;

(4) Whether Defendant is liable for damages, and the amount of such damages; and

(5) Whether Defendant should be enjoined from such conduct in the future.

33. The common questions in this case are capable of having common answers. If
Plaintiff's claim that Defendant routinely transmits automated and/or prerecorded calls to telephone
numbers assigned to cellular telephone services is accurate, Plaintiff and the Class members will have
identical claims capable of being efficiently adjudicated and administered in this case.

TYPICALITY
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34. Plaintiff's claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

PROTECTING THE INTERESTS OF THE CLASS MEMBERS

35, Plaintiff is a representative who will fully and adequately assert and protect the
interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate
representative and will fairly and adequately protect the interests of the Class.

PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

36. A class action is superior to all other available methods for the fair and efficient
adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is
economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the
Class are in the millions of dollars, the individual damages incurred by each member of the Class
resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual
lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,
and, even if every member of the Class could afford individual litigation, the court system would be
unduly burdened by individual litigation of suchcases.

37. The prosecution of separate actions by members of the Class would create a risk of
establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,
one court might enjoin Defendant from performing the challenged acts, whereas another may not.
Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.
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COUNT I
Violations of the TCPA, 47 U.S.C. § 227
(On Behalf of Plaintiff and the No Consent Class)

38. Plaintiff incorporates and re-alleges by reference paragraphs 1-37 as if fully set
forth herein.

39. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded voice ... to any telephone
number assigned to a ... cellular telephone service ....” 47 U.S.C. § 227(b)(1)(A)(iii).

40. Defendant — or third parties directed by Defendant — transmitted calls using an
automatic telephone dialing system or an artificial or prerecorded voice to the cellular telephone
numbers of Plaintiff and members of the putative class.

41. These calls were made without regard to whether Defendant had first obtained
express permission from the called party to make such calls. In fact, Defendant did not have prior
express consent to call the cell phones of Plaintiff and the other members of the putative Class
when its calls were made.

42. Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an
automatic telephone dialing system or an artificial or prerecorded voice to make non-emergency
telephone calls to the cell phones of Plaintiff and the other members of the putative Class without
their prior express consent.

43. Defendant knew that it did not have prior express consent to make these calls, and

knew or should have known that it was using an artificial or prerecorded voice. The violations

were therefore willful or knowing.
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44. As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,
Plaintiff and the other members of the putative Class were harmed and are each entitled to a
minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an
injunction against future calls. Jd.

45. Because Defendant knew or should have known that Plaintiff and the other
members of the putative Class had not given prior express consent to receive its prerecorded calls
to their cellular telephones the Court should treble the amount of statutory damages available to
Plaintiff and the other members of the putative Class pursuant to § 227(b)(3) of the TCPA.

COUNT Ii
Violations of the TCPA, 47 U.S.C. § 227
(On Behalf of Plaintiff and the Do Not Call Registry Class)

46. Plaintiff incorporates and re-alleges by reference paragraphs 1-45 as if fully set
forth herein.

47. 47 U.S.C. § 227(c) provides that any “person who has received more than one
telephone call within any 12-month period by or on behalf of the same entity in violation of the
regulations prescribed under this subsection may” bring a private action based on a violation of
said regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid
receiving telephone solicitations to which they object.

48. The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “Tnjo
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
who has registered his or her telephone number on the national do-not-call registry of persons who
do not wish to receive telephone solicitations that is maintained by the federal government.”

49. 47 CFR. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

person or entity making telephone solicitations or telemarketing calls to wireless telephone

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numbers to the extent described in the FCC’s July 3, 2003 Report and Order, which in turn,
provides as follows:

The Commission’s rules provide that companies making telephone

solicitations to residential telephone subscribers must comply with

time of day restrictions and must institute procedures for

maintaining do-not-call lists. For the reasons described above, we

conclude that these rules apply to calls made to wireless telephone

numbers. We believe that wireless subscribers should be afforded

the same protections as wireline subscribers.”

50. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
telephone solicitations to wireless telephone subscribers such as Plaintiffs and the Do Not Call
Registry Class members who registered their respective telephone numbers on the National Do
Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
maintained by the federal government. These consumers requested to not receive calls from
Defendant, as set forth in 47 C.F.R. § 64.1200(d)(3).

51. Defendant also violated 47 C.F.R. § 64.1200(d) by failing to have a written policy
of dealing with do not call requests, by failing to inform or train its personnel engaged in
telemarketing regarding the existence and/or use of any do not call list, and by failing to internally
record and honor do not call requests.

52. Defendant made more than one unsolicited telephone call to Plaintiffs and other
members of the Do Not Call Registry Class within a 12-month period without their prior express
consent to receive such calls. Plaintiffs and other members of the Do Not Call Registry Class never

provided any form of consent to receive telephone calls from Defendant, and/or Defendant does

not have a current record of consent to place telemarketing calls to them.

 

2 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket
No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fec.gov/edocs_public/attachmatch/FCC-03-153A 1 pdf

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53. Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
Registry Class received more than one telephone call in a 12-month period made by or on behalf
of Defendant in violation of 47 C.F.R. § 64.1200, as described above.

54. Asaresult of Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call
Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are each entitled,
inter alia, to receive up to $500 in damages for such violations of 47 C.E.R. § 64.1200.

55. To the extent Defendant’s misconduct is determined to be willful and knowing, the
Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
recoverable by the members of the Do Not Call Registry Class.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and the other members of the Class, prays
for the following relief:

a. A declaration that Defendant’s practices described herein violate the Telephone
Consumer Protection Act, 47 U.S.C. § 227;

b. An injunction prohibiting Defendant from using an artificial or prerecorded voice
to contact telephone numbers assigned to cellular telephones without the prior
express permission of the called party;

c. An award of actual and statutory damages; and

d. Such further and other relief the Court deems reasonable and just.

JURY DEMAND
Plaintiff and Class Members hereby demand a trial by jury.

Dated: July 16, 2018
DeNITTIS OSEFCHEN PRINCE, P.C.

By: s/ Ross H. Schmierer

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CERTIFICATION PURSUANT TO L. CIV. R. 11.2

I certify that, to the best of my knowledge, this matter is not the subject of any other action

pending in any court or of any pending arbitration or administrative proceeding.

Dated: July 16, 2018 DeNITTIS OSEFCHEN PRINCE, P.C.

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